
By the Court.
The Columbus, Delaware &amp; Marion Electric Company and the Alloy Cast Steel Company of Marion, Ohio, entered into a contract on August 13, 1926, providing for the furnishing of electric energy by the former to the latter. This contract was filed with the Public Utilities Commission of Ohio, January 16, 1928, and by an order *283of the commission made and entered on January 18,1928, the same was approved; and an order made and entered that the Electric Company conform its schedules to such arrangement.
The Columhus, Delaware &amp; Marion Electric Company on January 17, 1928, filed with the commission a certain schedule of rates, the same to become effective 30 days thereafter, prescribing rates for electrical furnace operation, which is the service used by the Alloy Cast Steel Company under its said contract. After this schedule was filed and before its effective date, the Alloy Cast Steel Company filed a motion to strike it from the files of the commission, which motion was overruled by the commission on February 15,1928, although the order shows that the complaint of the Alloy Cast Steel Company was deferred for subsequent assignment.
No other or further action was taken by the commission relative to such matter until February 21, 1928, when of its own motion it made and entered an order wherein it found said schedule to be at “variance with the rates for the same class of users of the service therein provided for as set forth in the aforesaid contract” (being the contract with the Alloy Cast Steel Company), and ordered said schedule stricken from its files, and required that a new schedule of rates and charges for electric energy for electrical furnace operation be forthwith filed in conformity to its order of January 18,1928.
The commission in its order of February 15,1928, wherein it denied the motion of the Alloy Cast Steel Company to strike said schedule from the files, found that the charges set forth in said schedule were within the maximum prescribed in a contract with the city of Marion under and by virtue of which *284said company was rendering utility service in that city.
It is the contention of the Columbus, Delaware &amp; Marion Electric Company that the schedule in question was filed in conformity with the statute upon 30 days notice, and that the commission having made the finding just referred to, and having made no order of suspension, but having permitted said schedule to become effective, thereby defeated its own jurisdiction to hear or entertain any complaint or make any further order except by proceeding under Sections 614-21 and 614-23,. General Code.
The arrangement entered into by and between the Columbus, Delaware &amp; Marion Electric Company and Alloy Cast Steel Company was pursuant to the provisions of Section 614-17, General Code, and the approval of the commission was in accordance with the provisions of said section. In its order of January 18, 1928, the commission adopted the language of that section, wherein it required the Electric Company to conform its public schedules to said arrangement. No error was prosecuted to the order of January 18, 1928. The schedule on file did not comply with the order made by the commission on January 18, 1928, which order was made before the effective date of the schedule, and the commission had the authority on its own motion to strike from its files, the schedule which was violative of its valid order.

Order affirmed.

Marshall, C. J., Day, Allen, Kinkade and Matthias, JJ.', concur.
Jones,. J., not participating,
